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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG MDL NO. 2179
“DEEPWATER HORIZON”
in the GULF OF MEXICO SECTION: J

on APRIL 20, 2010

JUDGE BARBIER
This Document Relates io:

Cuch Nguyen, et al. v.
BP Exploration & Production, et al
EDLA No. 10-3188

MAG. JUDGE SHUSHAN

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ORDER ON PLAINTIFFS’ MOTION FOR LEAVE OF
COURT TO VOLUNTARILY DISMISS CLAIMS WITHOUT PREJUDICE

Considering the foregoing Motion,

IT iS HEREBY ORDERED that Plaintiffs’ NGOC NGUYEN, HAI VO and TOMMY
PHAM'S Motion for Leave of Court to Voluntarily Dismiss Claims Without Prejudice is
hereby in all things is GRANTED.

IT IS FURTHER ORDERED THAT that the claims of Plaintiffs NGOC NGUYEN,
HAI VO and TOMMY PHAM only, as listed on Exhibit “A” attached to said Motion are

hereby dismissed without prejudice. This Order in no way affects the claims of the

remaining Plaintiffs in this Civil Action.

New Orleans, Louisiana, this day of , 2011.

HONORABLE CARL J. BARBIER
